Case 1:22-cv-06112-DLC Document 1-2 Filed 07/18/22 Page 1 of 3




     EXHIBIT B
            Case 1:22-cv-06112-DLC Document 1-2 Filed 07/18/22 Page 2 of 3
PRIVACY & RECORDS MANAGEMENT OFFICE




September 17, 2021


Via Email: paul.overberg@wsj.com


Paul Overberg
Wall Street Journal
1025 Connecticut Ave NW, Suite 800
Washington, DC 20036


RE: FOIA Case No. 2021-FPRO-03224

Dear Mr. Overberg:

This responds to your Freedom of Information Act (FOIA) requests dated September 15, 2021 in which you
seek access to Postal Service county-level change-of-address (COA) records between January and June
2021, including origin/destination data.

There is a longstanding practice of limiting the data reported for COA orders. During Hurricane Katrina, a
policy was established that prohibits disclosure of COA volume where the count is less than ten (10). The
purpose of this policy was to minimize the ability of a data recipient to identify where any specific
individual(s) may have moved from or to, which would be a violation of our responsibility to safeguard the
privacy interests of customers submitting COA orders.

Please note that some of the records you have requested are records that the Postal Service has recently
decided to make available for public inspection in accordance with the FOIA, 5 U.S.C. § 552(a)(2). The
records you have requested consist of:

          Records that have been released to previous FOIA requesters and that the Postal Service has
          determined have become or are likely to become the subject of subsequent requests for
          substantially the same records; and

          Records that have been released to previous FOIA requesters and that have been requested three
          (3) or more times

Because the Postal Service has made these records publicly available in its public and/or electronic reading
rooms, we will not process these records in response to your FOIA request made under 5 U.S.C. §
552(a)(3). Instead, please note that the records that you seek are available on our website under the FOIA
Library – Change of Address Stats. Given the highly sought data of COA records, requests will no longer
be processed under the FOIA as the information is available to the general public. It is available as an Excel
spreadsheet which allows ease of customization by each individual data seeker after download. Any and all
COA data to be released is available at the below-referenced FOIA Library website, which will be updated
on a monthly basis:

          https://about.usps.com/who/legal/foia/welcome.htm.

You may now obtain county level information by purchasing the Postal Service’s City State Product or from
another source. For more information regarding our City State Product, please contact the National
Customer Support Center at 1-800-238-3150 as this information is no longer being processed under the
FOIA.



475 L’Enfant Plaza SW, Rm. 1P830
Washington DC 20260-1101
(202) 268-2608
FAX: (202) 268-5353
         Case 1:22-cv-06112-DLC Document 1-2 Filed 07/18/22 Page 3 of 3
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In regard to the remaining portion of your request pertaining to origin/destination data, based on your
description of records sought, it has been determined that this portion of the records you seek are now
exempt from disclosure under FOIA Exemption 3, 39 U.S.C. §410(c)(2).

Exemption 3 allows an agency to withhold information that is “specifically exempted from disclosure by
statute.” 5 U.S.C. § 552(b)(3). Section 410(c)(2) of the Postal Reorganization Act qualifies as an
Exemption 3 statute. 39 U.S.C. § 410(c)(2). Section 410(c)(2) permits the Postal Service to withhold
“information of a commercial nature, including trade secrets, whether or not obtained from a person outside
the Postal Service, which under good business practice would not be publicly disclosed.” 39 U.S.C.
§410(c)(2). Information of a commercial nature under Section 410(c)(2) is broadly defined to include all
information that “relates to commerce, trade, profit, or the Postal Service’s ability to conduct itself in a
businesslike manner.” 39 C.F.R. § 265.14(b)(3). In determining whether particular information is
commercial in nature, the Postal Service considers six (6) factors relating to whether the information is more
akin to its role as a business entity, a competitor in the market or a provider of basic public services. See
39 C.F.R. § 265.14(b)(3)(i).

Here, we find that the records you requested qualify as “information of a commercial nature” under Section
410(c)(2) because it is related to COA counts by origin and destination which is information that is now, at
the moment, currently under development for a commercial product. Requests for COA data that seek the
originating and destination location, at any level, is no longer releasable under the FOIA. Accordingly, this
information is exempt from disclosure under Exemption 3 of the FOIA and Section 410(c)(2).

If you are not satisfied with the response to this request, you may file an administrative appeal within ninety
(90) days of the date of this response letter by writing to the General Counsel U.S. Postal Service 475
L’Enfant Plaza SW Washington, DC 20260 or via email at FOIAAppeal@usps.gov. Your appeal must be
postmarked or electronically transmitted within ninety (90) days of the date of the response to your request.
The letter of appeal should include, as applicable:

    (1) A copy of the request, of any notification of denial or other action, and of any other
       related correspondence;
    (2) The FOIA tracking number assigned to the request;
    (3) A statement of the action, or failure to act, from which the appeal is taken;
    (4) A statement identifying the specific redactions to responsive records that the requester
       is challenging;
    (5) A statement of the relief sought; and
    (6) A statement of the reasons why the requester believes the action or failure to act is
       erroneous.

For further assistance and to discuss any aspect of your request, you may contact any of the following:

        PRIVACY & RECORDS OFFICE
        US POSTAL SERVICE
        475 L'ENFANT PLAZA SW RM 1P830
        WASHINGTON DC 20260-1101
        Phone: (202) 268-2608
        Fax: (202) 268-5353
        FOIA Public Liaison: Nancy Chavannes-Battle

Additionally, you may contact the Office of Government Information Services (OGIS) at the National
Archives and Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.


Sincerely,




Tai Thompson
Government Information Specialist
